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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                          )
                                                    )
                        Plaintiff,                  )
                                                    )
        vs.                                         )   CRIMINAL NO. 08-30235-GPM-CJP
                                                    )
 HORATIO J. WATSON,                                 )
                                                    )
                        Defendant.                  )

                                               ORDER

 PROUD, Magistrate Judge:

        Before the Court is Defendant’s Motion to Reconsider Order of Detention. (Doc. 43).

 The government filed a Response (Doc. 47) and a Supplemental Response (Doc. 48).

        Defendant is charged with conspiracy to distribute 5 grams or more of a mixture or

 substance containing cocaine base (“crack”), in violation of 21 U.S.C. §§841(a)(1) and (b)(1)(B),

 21 U.S.C. §846, and 18 U.S.C. §2. He faces substantial penalties if convicted, i.e., 5 to 40 years

 imprisonment, a $2,000,000.00 fine, or both, and at least 4 years supervised release. Because

 there is probable cause to believe he committed a controlled substance offense for which a

 maximum term of imprisonment of 10 years or more is prescribed under Titles 21 or 46, he is

 subject to the rebuttable presumption that no condition or combination of conditions will

 reasonably assure his appearance and the safety of any other person and the community, as set

 forth in 18 U.S.C. § 3142(e).

        In support of his motion, defendant denies that he belongs to the Jack Mob gang; admits

 that there is video tape evidence of him engaging in drug sales, but states that there is little

 evidence to connect him to the charged conspiracy; and admits that he has stolen money from

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 people who have attempted to purchase drugs from him, but denies that he used a weapon or

 violence to do so. He also emphasizes that he is a lifelong resident of this District and has strong

 family ties to this area.

         The Court has reviewed the transcript of the detention hearing. The government’s proffer

 indicated that there is video and audio evidence of multiple controlled buys from defendant, and

 that, on at least one occasion, a drug buy took place in the presence of defendant’s four-year-old

 child. Defendant has not denied these claims. Defendant admits that he has stolen money from

 persons who were attempting to buy drugs from him. The government indicated that multiple

 witnesses have stated that defendant has been armed while distributing crack cocaine. Taken

 together, these circumstances establish that defendant is a danger to the community.

 Defendant’s general statement that he has not used weapons or violence to steal money from his

 drug customers does not negate the government’s proffer. In addition, in its Supplemental

 Response, the government states that, at the time of his arrest, defendant threatened to kill an

 arresting officer and his children when he gets out of jail.

         Defendant has not rebutted the presumption that he is a danger to the community, and

 that condition or combination of conditions would reasonably assure the safety of the

 community.

         For the foregoing reasons, Defendant’s Motion to Reconsider Order of Detention (Doc.

 43) is DENIED.

         IT IS SO ORDERED.

         DATE: February 9, 2009.                s/ Clifford J. Proud
                                                CLIFFORD J. PROUD
                                                UNITED STATES MAGISTRATE JUDGE


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